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                      EXHIBIT B
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DUNNE, DUNNE & COHEN, LLC
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683 Kearny Avenue
Kearny, New Jersey 07032
(201) 998-2727
Attorneys for Plaintiff

James Hale,                                     SUPERIOR COURT OF NEW JERSEY
                                           LAW DIVISION SOMERSET COUNTY
COUNTY                   Plaintiff(s)

vs.                                                      DOCKET NO.:

Lyons VA Medical Center, United States                           CIVIL ACTION
Department of Veteran Affairs, John
Does 1-10, Jane Does 1-10, and ABC                        AMENDED COMPLAINT
Corp 1-10

                         Defendant(s)

         Plaintiff, by way of Complaint against the Defendants by and through

undersigned counsel hereby state as follows:

      1. On May 21, 2019, the Plaintiff, James Hale was walking out of the Lyons VA Medical

         Center, when the railing collapsed and caused ho, to fall and sustain permanent injuries.

      2. Defendant, Lyons VA Medical Center, is located at 151 Knollcroft Road in Lyons, NJ

         07393. This specific Defendant is liable for the injuries sustained by the Plaintiff, as this

         Defendant failed to properly maintain and otherwise secure the premises.

      3. Defendant, United States Department of Veteran Affairs, is an entity that has contributed

         to the negligence resulting in the fall causing the Plaintiff’s injuries.

      4. Defendants, John Does 1-10, Jane Does 1-10 and ABC Corp 1-10 are fictitious people

         and entities that may have contributed to the negligence resulting in damages but their

         identities are currently unknown.
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   5. At all times mentioned herein, Defendants owed a duty to the Plaintiff to keep all railings

       safe for usage.

   6. Defendants were negligent in that they failed to maintain railing in a safe manner

       resulting in the fall causing the Plaintiff’s injuries.

   7. As a direct and proximate cause of the negligence of the aforesaid Defendants, the

       Plaintiff has been caused to sustain serious permanent injuries, both internal and external;

       suffered great pain and will in the future continue to suffer great pain; was compelled to

       and will in the future be compelled to incur medical expenses and to expend large sums

       of money for payment of said medical expenses; may have lost time from his occupation;

       was prevented from and will in the future be prevented from performing and/or engaging

       in his every day activities and lifestyles; has suffered economic damages are a result of

       his injuries; and, sustained other damages that will be ascertained through the discovery

       process and at the time of trial.

       WHEREFORE, Plaintiff demands judgment against the Defendants for damages,

interest, costs of suit and any such other relief that may be deemed necessary by the Court.


                                       DEMAND FOR TRIAL BY JURY
       Plaintiff hereby demands a trial by jury as to all issues raised in this Complaint.




                                    DESIGNATION OF TRIAL COUNSEL
       F.R. “Chip” Dunne, III, Esq., is hereby designated as trial counsel on behalf of the plaintiff.
                                            DUNNE, DUNNE & COHEN, LLC

                                            Chip Dunne______________
                                            F.R. “Chip” Dunne, III, Esq.
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              DEMAND FOR ANSWERS TO INTERROGATORIES

       Demand is hereby made of the Defendants by the Plaintiff for answers to Form C and C-1

 New Jersey Form Interrogatories.




                                              CERTIFICATION

       This is to certify that, to the best of our knowledge, this matter is not subject of any other

action pending in any court or arbitration proceeding and none is contemplated.

       I certify that all personal information has been redacted from this pleading pursuant to the

Court Rules of New Jersey.



                                      DUNNE, DUNNE & COHEN, LLC

                                      Chip Dunne
                                      F.R. “Chip” Dunne, III, Esq.
